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United States Courts
Southern District of Texas
FILED

United States Court of Appeals October 02, 2023

FIFTH CIRCUIT

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October 02, 2023
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
No. 23-20328 Daniels v. PennyMac Loan Services

USDC No. 4:22-CV-199

The court has granted Appellant’s motion to reinstate the appeal.

Sincerely,

LYLE W. CAYCE, Clerk
Lerdstih Qi hrston

By:
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